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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

  UNITED STATES OF AMERICA                       )
                                                 )
         v.                                      )   Criminal No. 2:22-cr-147
                                                 )
  CORTNEY A. CONLEY,                             )
                                                 )
                Defendant.                       )


                         PRELIMINARY ORDER OF FORFEITURE

         WHEREAS, on April 15, 2024, defendant Cortney A. Conley was found guilty by a jury

  of Counts 1 through 8 of the Second Superseding Indictment, which charged him with

  Conspiracy to Distribute and Possess with Intent to Distribute Marijuana, Psilocyn, and

  Psilocybin, in violation of 21 U.S.C. § 846 (Count 1), Possession with Intent to Distribute

  Controlled Substances, in violation of 21 U.S.C. § 841(a)(1) (Counts 2-3, 5-6), Possession,

  Brandish and Discharge of a Firearm in Furtherance of a Drug Trafficking Crime (Counts 4, 7),

  and Continuing Criminal Enterprise, in violation of 21 U.S.C. § 848 (Count 8);

         AND WHEREAS, the Court’s jurisdiction is founded upon 18 U.S.C. § 924(d), 28

  U.S.C. § 2461(c), and 21 U.S.C. § 853;

         AND WHEREAS, on September 12, 2024, the United States filed a Motion for

  Preliminary Order of Forfeiture requesting the forfeiture of a monetary judgment in the amount

  of $780,547.65 and one Glock Model 30 .45 caliber firearm bearing serial number BRCE361 and

  any accompanying magazines and ammunition;

         AND WHEREAS, the Court finds that the government has met its burden to prove that

  the proceeds the defendant obtained from the offenses in Counts 1 and 8 is $780,547.65,

  $364,574.91 of which the defendant jointly obtained with co-defendant Lateya Conley. The
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  Court further finds that the government has met its burden to show that the proceeds subject to

  forfeiture are unavailable due to acts or omissions by the defendant as set forth in 21 U.S.C. §

  853(p)(1)(B), thereby satisfying 21 U.S.C. § 853(p)(2).       The Court further finds that the

  government has met its burden to prove the nexus between the Glock Model 30 .45 caliber

  firearm bearing serial number BRCE361 and any accompanying magazines and ammunition and

  the offense in Count 4 as prescribed in Fed. R. Crim. P. 32.2(b)(1)(A);

         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

  THAT:

         1.      The following property is forfeited to the United States pursuant to 21 U.S.C. §

  853(a)(1):

                 A sum of money in the amount of $780,547.65, representing the proceeds the
                 defendant obtained from the offenses in Counts 1 and 8, for which the
                 defendant has been convicted, and which sum shall constitute a monetary
                 judgment against the defendant and in favor of the United States. This is a
                 sum for which the defendant shall be jointly and severally liable, to the
                 extent of $364,574.91, with co-defendant Lateya Conley.

         2.      The following property is forfeited to the United States pursuant to 18 U.S.C. §

  924(d) and 28 U.S.C. § 2461(c):

                 Glock Model 30 .45 caliber firearm bearing serial number BRCE361 and
                 any accompanying magazines and ammunition.

          3.      A money judgment in the amount of $780,547.65 shall be included in the

  sentence of the defendant. The Court having found that the requirements of 21 U.S.C. § 853(p)

  have been satisfied, the government may, by motion filed pursuant to Fed. R. Crim. P. 32.2(e),

  collect on its monetary judgment by all available means as provided by law.

         4.      The United States shall seize all forfeited property and shall take full and

  exclusive custody and control of same, regardless of whether presently held by the defendant or a

  third party. The United States is further authorized to conduct any discovery proper in
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  identifying, locating, or disposing of the forfeited property, pursuant to Fed. R. Crim. P.

  32.2(b)(3).

         5.       This forfeiture order is final as to the defendant, pursuant to Fed. R. Crim. P.

  32.2(b)(4)(A), but preliminary as to third parties who may have a legal interest in a specific

  property.

         6.      The United States shall, to the extent practicable, provide direct written notice to

  any persons known to have alleged an interest in the property, and shall publish notice of the

  order in accordance with Fed. R. Crim. P. 32.2(b)(6).

         7.      Any person, other than the defendant, asserting any legal interest in the property

  may, within thirty days of the final publication of notice or receipt of direct written notice,

  whichever is earlier, petition the Court for a hearing to adjudicate the validity of an alleged

  interest in the property, pursuant to 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2(c)(1).

         8.       Following the Court’s disposition of all timely petitions filed, a final order of

  forfeiture shall be entered. If no third party files a timely petition, this order shall become the

  final order of forfeiture, as provided by Federal Rule of Criminal Procedure 32.2(c)(2), and the

  United States shall have clear title to the property, pursuant to 21 U.S.C. § 853(n)(7) and Fed. R.

  Crim. P. 32.2(c)(2), and shall dispose of the property in accordance with law.

         9.      Upon entry of this order, the United States Attorney’s Office is authorized to

  conduct any appropriate discovery including depositions, interrogatories, requests for production

  of documents and for admissions, and the issuance of subpoenas, to identify, locate, or dispose of

  forfeitable property.
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         10.    Pursuant to Rule 32.2(b)(4)(B), this order of forfeiture shall be included in the

  Judgment imposed in this case.



                                                      _________________________________
                                                      Honorable Arenda L. Wright Allen
                                                      United States District Judge
  Norfolk, Virginia
         October 8, 2024
  Dated: _______________
